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                                                          October 16, 2020
VIA ECF

The Honorable J. Paul Oetken
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re: United States v. Franchesca Morales, 15-cr-879-3 (JPO)

Dear Judge Oetken:

       On September 3, 2020, the Second Circuit Court of Appeals vacated Franchesca Morales's
conviction for being a felon-in-possession of a weapon, and remanded her case to this Court. The
Government has informed the defense that it does not intend to re-try the defendant on the felon-
in-possession count, and agrees with the defense that the defendant should be re-sentenced on the
remaining convictions for heroin conspiracy under 21 U.S.C. § 841(b)(1)(B) and brandishing and
discharging a firearm in furtherance of a drug trafficking crime under 18 U.S.C. § 924(c).

       In order to proceed with resentencing, we would respectfully request that the Court order
Probation to prepare an updated Presentence Report. Counsel requests that we permitted to be
present during any additional interviews with Ms. Morales in connection with the updated
Presentence Report. The Government consents to this request.

 Granted.                                                 Respectfully submitted,
 The probation department is hereby directed
 to prepare an updated PSR based on the                   /s/ Kristen M. Santillo
 charges as detailed herein.
   So ordered.                                            Kristen M. Santillo
   October 19, 2020
                                                          Gelber & Santillo PLLC

                                                          Attorney for Defendant
                                                          Franchesca Morales
CC: All parties via ECF




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